 

FILED
IN OPEN COURT

 

25 2020
IN THE UNITED STATES DISTRICT COURT FOR THE feb eo

EASTERN DISTRICT OF VIRGINIA CAC US OSTRCT <aant
NORFOLK DIVISION NORFOLS

 

 

 

 

 

 

UNITED STATES OF AMERICA
v. F Case No.?:20cr004

MIRANDA & OVERTON,

Defendant.

 

STATEMENT OF FACTS

The United States and the defendant, MIRANDA S. OVERTON (hereinafter, “the
defendant”), stipulate that the allegations in Count One of the Criminal Information and the
following facts are true and correct, and that had the matter gone to trial the United States would
have proven the following facts beyond a reasonable doubt:

l. On July 2, 2018, at the Bon-Secours Depaul Medical Center, in Norfolk, Virginia,
the defendant reported to an agent of the Naval Criminal Investigative Service (NCIS) that on
July 1, 2018, J.S. sexually assaulted her on Naval Station Norfolk.

2. The defendant specifically alleged that J.S. penetrated her vagina and anus
without her consent.

a The defendant knew that this statement was materially false.

4, The defendant knew that this statement was false because she had engaged in
consensual sexual intercourse with J.S. on July 1, 2018.

5, The investigation conducted by NCIS was a matter within the jurisdiction of the
executive branch of the Government of the United States.

6. During her initial interview on July 2, 2018, with NCIS investigators the

defendant told them that she met J.S. on Tinder. The defendant relayed that she and J.S. agreed

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to meet on July 1, 2018, at his barracks located on Naval Station Norfolk. The defendant told
investigators that prior to the meeting she told J.S. that she did not want to have sex.

7. The defendant stated that upon entering J.S.’s barracks room, J.S. began ripping off
the defendant’s clothes and threw her on to the bed. After J.S. removed her clothing, the
defendant stated that J.S. penetrated her vulva and anus while the defendant told him, “no” and
“stop.” The defendant stated that J.S. penetrated her so forcefully, that she was bleeding from her
anus and vagina.

8. NCIS Investigators took the defendant’s allegation of sexual assault seriously and
opened an investigation into J.S.

9. On July 2, 2018, the defendant underwent a sexual assault examination at Bon-
Secuours Medical Center. A sexual assault forensic examiner conducted the examination.

The defendant told the examiner that prior to arriving at J.S.’s barracks room they agreed to have
“gentile penis in vagina sex.” During the examination, the examiner found no evidence of
trauma to the defendant’s genitals or anus.

10. In connection with its investigation, NCIS investigators interviewed J.S. on August
17, 2018. Prior to the interview J.S. was read his Article 31(b) rights and he agreed to speak
with NCIS. —_J.S. told the NCIS investigators that he had met the defendant on Tinder. The
defendant provided those messages to NCIS. During his interview, J.S. stated that he had
consensual vaginal and anal sex with the defendant.

11. Anexcerpt from the Tinder messages provided by J.S. are as follows:

a. Defendant: Iam looking for someone for a threesome or someone to date or
friends. But mostly a threesome or friends.

b. J.S.: Oh. We’ll I’m up to try a three some [i]f you got someone else,
I like bigger women so.
c. Defendant: Yealdo. It’s me and my [significant other].

12. NCIS investigators also obtained video camera footage from the lobby of J.S.’s
barracks. The video footage revealed that the defendant and J.S. kissed in the elevator prior to
entering his room on July 1, 2018.

13. On December 18, 2018, NCIS investigators re-interviewed the defendant. The
interview took place on Naval Station Norfolk at NCIS’s Office. During this interview, NCIS
investigators asked the defendant if she wanted to clarify her earlier statement to NCIS. The
defendant again stated that J.S. sexually assaulted her. The defendant again alleged that J.S.
penetrated her vulva and anus with his penis without her consent.

14. After the defendant stated that J.S. sexually assaulted her, the Agent showed the
defendant photographs of her kissing J.S. in the elevator and the Tinder messages between the
defendant and J.S. The defendant responded by saying that she was “‘guessing on the details,”
and “I’m not remembering things.” However, the defendant continued to assert that J.S.
sexually assaulted her.

15. The NCIS agent then confronted the defendant with a prior police report that she
had filed years earlier against a different individual alleging a different sexual assault. The
defendant admitted that the previous report was false. The defendant also then admitted that she
had fabricated the report against J.S.

16. The defendant stated that she fabricated the report against J.S. out of the fear that
her significant other would end their relationship if the significant other became aware that the
defendant had sex with J.S.

17. This statement of facts includes those facts necessary to support the plea agreement

between the defendant and the United States. It does not include each and every fact known to
the defendant or to the United States, and it is not intended to be a full enumeration of all of the
facts surrounding the defendant’s case.
18. The actions of the defendant, as recounted above, were in all respects knowing,

willful, and deliberate, and were not committed by mistake, accident, or other innocent reason.

Respectfully submitted,

G. Zachary Terwilliger
United States Attorney

Date: February 25, 2020 By: a LMEHR Zan

Matthew J. Heck
Special Assistant United States Attorney
After consulting with my attorney and pursuant to the plea agreement entered into this day
between the defendant, MIRANDA S. OVERTON, and the United States, I hereby stipulate that
the above Statement of Facts is true and accurate, and that had the matter proceeded to trial, the
United States would have proved the same beyond a reasonable doubt.

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MIRANDA S. OVERTON

 

I am Kirsten Kmet, defendant’s attorney. I have carefully reviewed the above Statement
of Facts with her. To my knowledge, her decision to stipulate to these facts is an informed and

voluntary one.

 

Kirsten Kmet, Esq.
Attorney for MIRANDA S. OVERTON

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